Case 2:17-cv-00954-RSWL-KS Document 16 Filed 05/31/17 Page 1 of 2 Page ID #:58




  1   Kian Mottahedeh (SBN 247375)
      John D. Sarai (SBN 259125)
  2   SM LAW GROUP, APC
      16130 Ventura Blvd., Suite 660
  3   Encino, CA 91436
      Tel: (818) 855-5950
  4   Fax: (818) 855-5952
      kian@smlawca.com
  5   john@smlawca.com
  6   Attorneys for Plaintiff,
       WILLIAM WILBURN
  7
  8
  9                         UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11                                  WESTERN DIVISION
 12
      WILLIAM WILBURN,                )            Case No. 2:17-cv-00954-RSWL-KS
 13                                   )
                 Plaintiff,           )            Honorable Ronald S. Lew
 14                                   )
          vs.                         )            STIPULATION AND [PROPOSED]
 15                                                ORDER OF DISMISSAL OF
      JPMORGAN CHASE BANK, N.A.; and ))            ACTION IN ITS ENTIRETY WITH
 16   DOES 1 through 10, inclusive,                PREJUDICE
                                      )
 17              Defendants.          )
                                      )            Action Filed: February 6, 2017
 18                                   )
                                      )
 19                                   )
                                      )
 20
 21
 22
 23
 24
 25
 26
 27
 28
      STIPULATION AND [PROPOSED] ORDER OF DISMISSAL OF ACTION IN ITS ENTIRETY WITH PREJUDICE
                                                                 Case No. 2:17-CV-00954-RSWL-KS
      LA 52086040
                                                               Case 2:17-cv-00954-RSWL-KS Document 16 Filed 05/31/17 Page 2 of 2 Page ID #:59




                                                                      1           TO THE COURT, CLERK OF COURT AND ALL PARTIES:
                                                                      2           IT IS HEREBY STIPULATED by and between plaintiff William Wilburn
                                                                      3   and defendant Chase Bank USA, N.A., erroneously sued as JPMorgan Chase Bank,
                                                                      4   N.A., that, pursuant to Federal Rule of Civil Procedure, section 41(a)(1)(ii), this
                                                                      5   action be dismissed in its entirety with prejudice, and each party shall bear its or his
                                                                      6   own attorneys’ fees and costs.
                                                                      7
                                                                           Dated: May _31_, 2017                   STROOCK & STROOCK & LAVAN LLP
                                                                      8                                            JULIA B. STRICKLAND
                                                                                                                   ARJUN P. RAO
                                                                      9                                            BRYAN J. WEINTROP
                                Los Angeles, California 90067-3086
STROOCK & STROOCK & LAVAN LLP




                                                                     10                                            By:                /s/ Arjun Rao
                                                                     11                                                                 Arjun P. Rao
                                      2029 Century Park East




                                                                     12                                            Attorneys for Defendant
                                                                                                                        CHASE BANK USA, N.A.
                                                                     13                                                 erroneously sued as JPMORGAN
                                                                                                                        CHASE BANK, N.A.
                                                                     14
                                                                     15   Dated: May _31_ 2017                    SM LAW GROUP, APC
                                                                     16
                                                                     17                                           By:             /s/ Kian Mottahedeh
                                                                     18                                                           Kian Mottahedeh

                                                                     19                                           Attorneys for Plaintiff
                                                                                                                       WILLIAM WILBURN
                                                                     20
                                                                     21
                                                                     22
                                                                     23
                                                                     24
                                                                     25
                                                                     26
                                                                     27
                                                                     28
                                                                                                                     -1-
                                                                          STIPULATION AND [PROPOSED] ORDER OF DISMISSAL OF ACTION IN ITS ENTIRETY WITH PREJUDICE
                                                                                                                                   CASE NO. 2:17-CV-00954-RSWL-KS
                                                                          LA 52086040
